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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                         CRIMINAL 14-0177-1CCC
1) CARLOS OCASIO-CALDERON
2) ARGELIS COLON-RUBIO
Defendant


                                  ORDER

     Having considered the Report and Recommendation filed on March 5,
2015 (docket entry 59) on a Rule 11 proceeding of defendant [1] Carlos
Ocasio-Calderón before U.S. Magistrate-Judge Marcos E. López on
February 26, 2015, to which no objection has been filed, the same is
APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since February 26, 2015. The sentencing
hearing is set for May 27, 2015 at 4:30 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 23, 2015.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
